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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                           Tallahassee Division

AUGUST DEKKER, legally known as               )
KORI DEKKER; BRIT ROTHSTEIN;                  )
SUSAN DOE, a minor, by and through            )     Civil Action No.
her parents and next friends, JANE            )     4:22-cv-00325-RH-MAF
DOE and JOHN DOE; and K.F., a                 )
minor, by and through his parent and          )
next friend, JADE LADUE,                      )
                                              )
                                  Plaintiffs, )
v.                                            )
                                              )
SIMONE MARSTILLER, in her                     )
official capacity as Secretary of the         )
Florida Agency for Health Care                )
Administration; and FLORIDA                   )
AGENCY FOR HEALTH CARE                        )
ADMINISTRATION,                               )
                           Defendants.        )
____________________________________)

    Declaration of Yaacov Sheinfeld In Support of Defendants’ Opposition to
                  Plaintiffs’ Motion for Preliminary Injunction

I, Yaacov Sheinfeld, declare as follows:

      1.      I am over the age of 18 years and am not a party to this action. I have

actual knowledge of the following facts and if called upon to testify to them could

and would do so competently. I am submitting this Declaration in support of

Defendants’ opposition to Plaintiffs’ Complaint and Motion for Preliminary

Injunction.
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      2.     Florida’s Rule 59G-1.050(7) of the Florida Administrative Code (the

“Challenged Exclusion”) states that Florida Medicaid does not cover services for the

treatment of gender dysphoria.

      3.     Florida’s Rule will prevent manipulation and coercion on the part of

health care providers and from that of their own distressed and confused children to

comply with demands for medical and surgical interventions aimed at “affirming” a

young person’s professed discordant gender identity under threats of alienation or

loss of a child to suicide. Most importantly, this law protects vulnerable children and

young people from grievous harm and even death.

      4.     Had a law like Florida’s Rule been in effect Massachusetts my daughter

might still be alive today.

      5.     My daughter, S. had been in counseling for depression since age 15, but

had never said anything about gender dysphoria to her counselor.

      6.     At age 17, S.’s mother told me that S. was transgender. I did not think

it was a good idea to pursue transitioning, nevertheless, I told S. that I would help

her in any other way.

      7.     S. had suffered a lot of rejection in school and was seeking affirmation.

Five of her friends announced that they were transgender. When S. said she was

transgender too it was seen as fashionable and she finally had the peer acceptance

she had not previously experienced in high school.


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      8.     When S. went to college at age 18, unbeknownst to me, she began

taking testosterone. When I met with her at school, I noticed she was very depressed.

      9.     A social worker who was also present at my meeting with S., Shannon

Sennott, told me that S. was going to get a double mastectomy.

      10.    When I objected to her taking such a drastic step at such a young age,

the social worker told me I was an “Israeli chauvinist”, a typical chauvinist male,

who doesn’t love his child enough. Her approach was that this is what we’re going

to do and you need to just get on board.

      11.    The social worker assured me that everything would be fine if I just

loved my daughter.

      12.    After this meeting S. refused to talk to me and began threatening that

she would kill herself if she did not get the surgery she wanted. She had a double

mastectomy at age 19.

      13.    I witnessed distressing physical and emotional changes in S. The

changes in her because of the testosterone were so distressing that I even considered

suicide at one time. S. gained and lost lots of weight, had pain all over her body,

suffered from mood swings, could not concentrate, and described herself at times as

“barely alive.” At one point she was hospitalized in a psychiatric hospital for

depression and suicidal thoughts.




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         14.   S. was deeply depressed and taking a significant number of medications

along with testosterone. It did not appear any medical professional was monitoring

all these medications or even understood their possible interactions. I kept assuring

her that I would do whatever I could to help her.

         15.   S.’s pain became so intense that she began taking Fentanyl.

         16.   S. was found dead on August 6, 2021 with Fentanyl and alcohol in her

system. She was 28. S. had been identifying as a male and taking testosterone for

ten years.

         17.   Florida’s Rule and similar laws to not cover services for the treatment

of gender dysphoria are critically important because young people, especially those

with mental health issues such as S, cannot make clear decisions about their future,

particularly when neither they nor their parents are provided with full information

about the effects of these interventions. We know from research that the brain is not

fully formed until a person reaches her mid-20s, so even a healthy 18-year-old does

not have the mental maturity to make life-altering decisions such as taking cross-sex

hormones or surgeries that will significantly alter their bodies and impact their

mental health.

         18.   The medical interventions that were promoted to my daughter with a

promise that they would relieve her problems, in fact, increased them and led to her

death.


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      19.    Parents should not be put in the position to support decisions for their

child that can result in infertility or other life-long harms, especially when the young

person has mental health issues that are not being addressed.

      20.    Florida’s Rule protects parents from being coerced into supporting

these decisions through manipulation and threats like the one leveled at me that my

daughter would commit suicide if she did not get the intervention she demanded.

Most importantly, it will save the lives of vulnerable young people like my daughter.

      I declare under penalty of perjury that the foregoing is true and correct.

Dated: October 3, 2022.



                                        /s/ Yaacov Sheinfeld
                                        Yaacov Sheinfeld




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